Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 1 of 12 PageID
                                   #: 4932




                   Thomas-Jensen
                    Affirmation



                       Exhibit # 89
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 2 of 12 PageID
                                   #: 4933
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 3 of 12 PageID
                                   #: 4934
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 4 of 12 PageID
                                   #: 4935
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 5 of 12 PageID
                                   #: 4936
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 6 of 12 PageID
                                   #: 4937
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 7 of 12 PageID
                                   #: 4938
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 8 of 12 PageID
                                   #: 4939
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 9 of 12 PageID
                                   #: 4940
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 10 of 12 PageID
                                    #: 4941




                    EXHIBIT A
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 11 of 12 PageID
                                    #: 4942
Case 1:25-cv-00039-JJM-PAS   Document 68-89   Filed 02/07/25   Page 12 of 12 PageID
                                    #: 4943
